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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

   UNITED STATES OF AMERICA,

                        Plaintiff,
                                      Case No. 19-cr-20246
                                      Hon. DENISE PAGE HOOD
   vs.

   REYAD GAFAR ABBAS,

                        Defendant.
   _________________________________/
   TIMOTHY WYSE
   U.S. Attorney's Office
   211 W. Fort Street; Suite 2001
   Detroit, MI 48226
   313-226-9144
   Email: Timothy.Wyse@usdoj.gov

   SANFORD A. SCHULMAN
   Attorney for Defendant
          REYAD GAFAR ABBAS
   500 Griswold Street, Suite 2340
   Detroit, Michigan 48226
   (313) 963-4740
   Email: saschulman@comcast.net
   _________________________________/

    DEFENDANT, REYAD GAFAR ABBAS’s MOTION TO WAIVE PERSONAL
   APPEARANCE AT JUNE 18, 2019 PRETRIAL OR IN THE ALTERNATIVE TO
                 ALLOW TELEPHONIC PARTICIPATION
          NOW COMES the Defendant, REYAD GAFAR ABBAS, by and through

   his attorney, SANFORD A. SCHULMAN, and states in support of his Motion to

   Waive Personal Appearance at June 18, 2019 pretrial, or in the alternative, to

   allow defendant to participate telephonically as follows:




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          1. An Indictment was filed on April 18, 2019 charging the defendant,

   REYAD GAFAR ABBAS, and others, with Count One: Conspiracy to Wire Fraud

   in violation of 18 USC Sec. 1349; Count Two and Eight: Wire Fraud, Aiding and

   Abetting in violation of 18 USC Sec. 1343, and 2; Count Three and Nine:

   Aggravated Identity Theft, Aiding and Abetting in violation of 18 USC Sec.

   1028A(a)(1) and (2)/ (R. 1, Indictment)

          2. On May 16, 2019 the defendant appeared as directed for an

   arraignment and was given a $10,000.00 unsecured bond. (R. 31. Bond)

          3. While a trial date of June 18, 2019 was set, it was discussed and

   anticipated given the amount of discovery that needed to be reviewed and the

   fact that the Government had not yet provided that discovery, that a trial was

   unlikely on that date and time. Mr. Abbas was and remains prepared and willing

   to stipulate to a waiver of his right to a speedy trial.

          4. A notice was entered converting the jury trial date to a pretrial and a

   notice to appear was entered for June 18, 2019 at 9:00 a.m.

          5. The defendant resides in Los Angeles, California where he is

   employed.

          6. That the defendant will be terminated from his employment for failure to

   give sufficient notice if he is required to attend the pretrial. In addition, he has

   limited resources and the cost of flight, transportation, hotel, etc. will place an

   undue burden on his.

          7. The defendant is planning on meeting with counsel to review the

   discovery however at this time the Government has not provided the discovery.




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          8. The defendant, REYAD ABBAS, is prepared to waive his rights

   pursuant to the Speedy Trial Act.

          9. Concurrence with this request has been made to the Government and

   it appears the Government does not object to the request.

          WHEREFORE, the Defendant, REYAD GAFAR ABBAS, by and through

   his attorney, SANFORD A. SCHULMAN, respectfully requests this Honorable

   Court grant his Motion to Waive Personal Appearance at June 18, 2019 pretrial,

   or in the alternative, to allow defendant to participate telephonically for the

   reasons so stated herein.


                                       Respectfully submitted,


                                       /s/ Sanford A. Schulman
                                       SANFORD A. SCHULMAN
                                       Attorney for Defendant:
                                              REYAD GAFAR ABBAS
                                       500 Griswold Street, Suite 2340
                                       Detroit, Michigan 48226
                                       (313) 963-4740
                                       Email: saschulman@comcast.net

   Date: June 13, 2019




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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

   UNITED STATES OF AMERICA,

                 Plaintiff,
                                      Case No. 19-cr-20246
                                      Hon. DENISE PAGE HOOD
   vs.

   REYAD GAFAR ABBAS,

                        Defendant.
   _________________________________/
   TIMOTHY WYSE
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   313-226-9144
   Email: Timothy.Wyse@usdoj.gov

   SANFORD A. SCHULMAN
   Attorney for Defendant
          REYAD GAFAR ABBAS
   500 Griswold Street, Suite 2340
   Detroit, Michigan 48226
   (313) 963-4740
   Email: saschulman@comcast.net
   ________________________________/

     BRIEF IN SUPPORT OF DEFENDANT, REYAD GAFAR ABBAS’s MOTION
    TO WAIVE PERSONAL APPEARANCE AT JUNE 18, 2019 PRETRIAL OR IN
         THE ALTERNATIVE TO ALLOW TELEPHONIC PARTICIPATION

          NOW COMES the Defendant, REYAD GAFAR ABBAS, by and through

   his attorney, SANFORD A. SCHULMAN, and states in support of his Motion to

   Waive Personal Appearance at June 18, 2019 pretrial, or in the alternative, to

   allow defendant to participate telephonically as follows:




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                                STATEMENT OF FACTS

          An Indictment was filed on April 18, 2019 charging the defendant, REYAD

   GAFAR ABBAS, and others, with Count One: Conspiracy to Wire Fraud in

   violation of 18 USC Sec. 1349; Count Two and Eight: Wire Fraud, Aiding and

   Abetting in violation of 18 USC Sec. 1343, and 2; Count Three and Nine:

   Aggravated Identity Theft, Aiding and Abetting in violation of 18 USC Sec.

   1028A(a)(1) and (2)/ (R. 1, Indictment).

          A jury trial date was initially set for June 18, 2019 but the parties and

   counsel anticipated a stipulation to adjourn the trial date and waive the speedy

   trial act. This Court set a pretrial for June 18, 2019 and cancelled the trial date

   with a notice for the parties to appear.

          The defendant is a twenty-three years old and currently resides in the Los

   Angeles, California area where he is employed. Unfortunately, he was only

   recently apprised of the notice to appear for the June 18, 2019 pretrial and does

   not have the resources to pay for a plane ticket and hotel. He is requesting that

   this court allow him to waive his appearance and if necessary to participate

   telephonically. He is prepared to waive his right to a Speedy Trial.

                                       ARGUMENT

          This Court has the discretion to allow a defendant to waive his

   appearance at a non-essential pretrial and to allow counsel to appear in his

   place. United States v. Turner, No. 12-cv-20617, 2015 U.S. Dist. LEXIS 101560

   (E.D. Mich. Aug. 4, 2015). The June 18, 2019 pretrial will likely not address any

   substantive issues, will focus on scheduling and the setting of future dates.




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           The defendant understands he has a right to a speedy trial and believes it

   is in his best interest to waive his right to a speedy trial so he can review

   discovery, file any appropriate motions, explore a possible resolution and prepare

   for trial.

           WHEREFORE, the Defendant, REYAD GAFAR ABBAS, by and through

   his attorney, SANFORD A. SCHULMAN, respectfully requests this Honorable

   Court grant his Motion to Waive Personal Appearance at June 18, 2019 pretrial,

   or in the alternative, to allow defendant to participate telephonically for the

   reasons so stated herein.


                                       Respectfully submitted,


                                       /s/ Sanford A. Schulman
                                       SANFORD A. SCHULMAN
                                       Attorney for Defendant:
                                              REYAD GAFAR ABBAS
                                       500 Griswold Street, Suite 2340
                                       Detroit, Michigan 48226
                                       (313) 963-4740
                                       Email: saschulman@comcast.net

   Date: June 13, 2019




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